       Case 3:06-cr-00151-ADC        Document 173       Filed 08/25/06     Page 1 of 9



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,

                v.                                       CRIMINAL NO. 06-151 (ADC)

 YONAIRA MELENDEZ-HERNANDEZ [15],

 Defendant.


                         REPORT AND RECOMMENDATION

        Defendant Yonaira Meléndez-Hernández was charged in Counts 1, 65 through 69 and

75 of a seventy-five (75) counts Indictment and she agreed to plead guilty to Count One.

Count One charges that, beginning on a date unknown, but no later than in or about 2000, and

up until the present, in the District of Puerto Rico, California, elsewhere, and within the

jurisdiction of this Court, the defendant did knowingly and willfully combine, conspire, and

agree with each other and with other persons both known and unknown to the Grand Jury to

commit offenses against the United States in violation of Title 18, United States Code, Section

1956, to wit:

        (a) to knowingly and willfully conduct financial transactions affecting interstate

commerce, which transactions involved the proceeds of specified unlawful activity, that is, the

felonious manufacture, importation, receiving, concealment, buying, selling, or otherwise

dealing in controlled substances (as defined in section 102 of the Controlled substances Act),

set forth in Title 18, United States Code, Section 1961, punishable under any law of the United

States including Title 21, United States Code, Sections 841(a)(1) and 846, knowing that the
        Case 3:06-cr-00151-ADC              Document 173   Filed 08/25/06    Page 2 of 9



United States of America v. Yonaira Meléndez-Hernández
Criminal No. 06-151 (ADC)
Report and Recommendation
Page No. 2

transactions were designed in whole and in part to promote the carrying on of the specified

unlawful activity, and that while conducting and attempting to conduct such financial

transactions, the defendants knew that the property involved in the financial transactions

represented the proceeds of some form of unlawful activity, in violation of Title 18, United

States Code, Section 1956(a)(1)(A)(i);

        (b) to knowingly and willfully conduct financial transactions affecting interstate

commerce, which transactions involved the proceeds of specified unlawful activity, that is, the

felonious manufacture, importation, receiving, concealment, buying, selling, or otherwise

dealing in controlled substances (as defined in section 102 of the Controlled Substances Act),

set forth in Title 18, United States Code, Section 1961, punishable under any law of the United

States including 21, United States Code, Sections 841(a)(1) and 846, knowing that the

transactions were designed in whole and in part to conceal and disguise the nature, location,

source, ownership, and control of the proceeds of specified unlawful activity, and that while

conducting and attempting to conduct such financial transactions, the defendants knew that the

property involved in the financial transactions represented the proceeds of some form of

unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i); and

        (c) to knowingly and willfully conduct financial transactions affecting interstate

commerce, which transactions involved the proceeds of specified unlawful activity, that is, the

felonious manufacture, importation, receiving, concealment, buying, selling, or otherwise

dealing in controlled substances (as defined in section 102 of the Controlled Substance Act), set
         Case 3:06-cr-00151-ADC                    Document 173              Filed 08/25/06           Page 3 of 9



United States of America v. Yonaira Meléndez-Hernández
Criminal No. 06-151 (ADC)
Report and Recommendation
Page No. 3

forth in Title 18, United States Code, Section 1961, punishable under any law of the United

States including Title 21, United States Code, Sections 841(a)(1) and 846, knowing that the

transactions were designed in whole and in part to avoid a transaction reporting requirement

under Federal law and that while conducting and attempting to conduct such financial

transactions, the defendants knew that the property involved in the financial transactions

represented the proceeds of some form of unlawful activity, in violation of Title 18, United

States Code, Section 1956(a)(1)(B)(ii).

         Defendant appeared before this Magistrate Judge on August 24, 2006, since the Rule

11 hearing was referred by the court. Defendant was provided with a Waiver of Right to Trial

by Jury, which she signed and agreed upon voluntarily after examination in open court, under

oath.

         Defendant indicated and confirmed her intention to plead guilty to Count One of the

Indictment, upon being advised of her right to have said proceedings before a district judge of

this court.1 Upon verifying through defendant’s statement her age, education and any relevant

aspect as to the use of medication, drugs, alcohol or substance dependency, and psychological

or psychiatric condition, to ascertain her capacity and ability to understand, answer and

comprehend the interactive colloquy with this Magistrate Judge, a determination was made as

to defendant’s competency and ability to understand the proceedings.



         1
            The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading Guilty
(Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
        Case 3:06-cr-00151-ADC              Document 173   Filed 08/25/06      Page 4 of 9



United States of America v. Yonaira Meléndez-Hernández
Criminal No. 06-151 (ADC)
Report and Recommendation
Page No. 4

        Having further advised defendant of the charges contained in above-stated Count One,

she was examined and verified as being correct that: she had consulted with her counsel, Anita

Hill, prior to the hearing for change of plea, that she was satisfied with the services provided by

her legal representative and had time to discuss with her all aspects of the case, insofar, among

other things, regarding the change of plea, the consent to proceed before a United States

Magistrate Judge, the content of the Indictment and the charges therein, her constitutional rights

and the consequences of the waiver of same.

        Defendant was specifically appraised by this Magistrate Judge that, upon withdrawing

her initial plea of not guilty and now entering a plea of guilty to the charge specified, she was

waiving her right to a public, speedy, and a trial by jury constituted by twelve jurors who have

to unanimously agree to a verdict. She was also waiving her right to be presumed innocent

and for the government to meet the obligation of establishing her guilt beyond a reasonable

doubt. Furthermore, she was waiving her right during said trial to confront the witnesses who

were to testify against her and be able to cross-examine them, through counsel at said trial, as

well as present evidence on her behalf. She was also waiving the right to compel the attendance

of witnesses and that subpoenas be issued to have them appear in court to testify. Defendant

was specifically appraised of her right to take the stand and testify, if she so decided, or not to

testify, and no inference or decision as to her guilt could be made from the fact if she decides

not to testify. Defendant was also explained her right not to incriminate herself; that upon such

a waiver of all above-discussed rights a judgment of guilty and her sentence were to be based
        Case 3:06-cr-00151-ADC              Document 173   Filed 08/25/06   Page 5 of 9



United States of America v. Yonaira Meléndez-Hernández
Criminal No. 06-151 (ADC)
Report and Recommendation
Page No. 5

on her plea of guilty, and she would be sentenced by the judge after considering the information

contained in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of her counsel, Attorney Hill, indicated she

freely and voluntarily waived those rights and understood the consequences. During all this

colloquy, defendant was made aware that she could freely request from this Magistrate Judge

any additional clarification, repetition, or ask questions and that she may consult with her

attorney at any given time as to any issue.

        Defendant expressed her understanding of the penalties prescribed by statute for the

offenses as to which she was pleading guilty as follows: Count One, the term of imprisonment

which shall not be more than twenty (20) years, a fine not to exceed five hundred thousand

dollars ($500,000.00) or twice the value of the property involved in the transaction, whichever

is greater, and a term of supervised release of not more than three (3) years in addition to any

term of incarceration. Additionally, defendant shall pay a special monetary assessment of one

hundred dollars ($100.00), per count, to be deposited in the Crime Victim Fund, pursuant to

Title 18, United States Code, Section 3013(a).

        Having ascertained directly from defendant that she had not been induced in any way

to plead guilty, that no one had forced her in any way to plead guilty, nor that she had been

offered any reward or any other thing of value to get her to plead guilty, the document entitled

“Plea Agreement pursuant to Rule 11(c)(1)(B)” (“the Agreement”) was shown to defendant,
        Case 3:06-cr-00151-ADC              Document 173   Filed 08/25/06   Page 6 of 9



United States of America v. Yonaira Meléndez-Hernández
Criminal No. 06-151 (ADC)
Report and Recommendation
Page No. 6

verifying her signature and initials on each and every page.

        Pursuant to said Agreement, and insofar as Count One, as to which defendant already

was aware of the maximum possible penalties, defendant was appraised that it was up to the

sole discretion of the sentencing court what the sentence to be imposed on her will be.

Defendant was specifically informed that if the sentencing court were to impose a sentence

which turned out to be higher or more severe than the one she might be expecting, for said

reason alone, defendant would have no grounds for the court to allow her to withdraw her plea

of guilty.

        The above-captioned parties’ estimate and agreement appears on page five (5),

paragraph seven (7) of the Agreement, regarding the possible applicable advisory Sentencing

Guidelines, were further elaborated and explained. Accordingly, the Base Offense Level is of

Eight (8), pursuant to U.S.S.G. §2S1.1(a)(2). A six (6) level increase shall be made pursuant

to U.S.S.G. §2B1.1(b)(1)(c) for more than thirty thousand ($30,000.00) dollars; and a two (2)

level increase shall be made pursuant to U.S.S.G. §2S1.1(b)(2)B) for a specific offense

characteristic if the defendant was convicted of Title 18, United States Code, Section 1956. A

three (3) level downward adjustment shall be made for acceptance of responsibility pursuant

to U.S.S.G. §3E1.1(b); and a two (2) level downward adjustment shall be made for mitigating

role pursuant to U.S.S.G. §3B1.2(b). Hence, defendant’s Total Offense Level will be Eleven

(11), with a sentencing range of Eight (8) to Fourteen (14) months of imprisonment assuming

a Criminal History Category of I.
        Case 3:06-cr-00151-ADC              Document 173   Filed 08/25/06   Page 7 of 9



United States of America v. Yonaira Meléndez-Hernández
Criminal No. 06-151 (ADC)
Report and Recommendation
Page No. 7

        As indicated in paragraph eight (8) of the Agreement, the United States and the

defendant will recommend a sentence of eight (8) months of imprisonment, out of which the

first four (4) months will be at the Metropolitan Detention Center in Guaynabo, Puerto Rico and

the remaining under home detention U.S.S.G. §5C1.1(d)(2). Defendant understands that the

Court may choose to impose a sentence up to twenty (20) years of imprisonment.

        The parties do not stipulate any assessment as to the defendant’s Criminal History

Category. The United States will request at sentencing the dismissal of the remaining count of

the Indictment pending against the defendant, pursuant to Rule 11(e)(1)(A) of the Federal Rules

of Criminal Procedure.

        As part of the written Agreement, the government, the defendant, and her counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

        Defendant was specifically informed that the above sentencing calculations were not

binding for the sentencing court, but were only estimates of possible terms of her sentence,

which may always be imposed, at the sole discretion of the court, up to the maximum penalties

allowed by statute, and dependent upon the information and verification thereof of the pre-

sentence report that the court would have before it at the time of imposition of the sentence.

        The government presented to this Magistrate Judge and to defendant, assisted by her

counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the
         Case 3:06-cr-00151-ADC                      Document 173              Filed 08/25/06             Page 8 of 9



United States of America v. Yonaira Meléndez-Hernández
Criminal No. 06-151 (ADC)
Report and Recommendation
Page No. 8


commission of the offense, beyond a reasonable doubt. Counsel and defendant acknowledged

the evidence of the government was fully disclosed to them and previously discussed between

the two. Defendant was able to understand this explanation and agreed with the government’s

submission. Defendant was also read and shown a written document entitled “Stipulation of

Facts”, which had been signed by defendant and her counsel and is attached to the Agreement,

wherein the signature of counsel for the government also appears.

          Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, her attorney and the government, have entered.

          Having once more ascertained that defendant indicated not being induced to plead

guilty, and was entering such a plea because in fact she is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any

sentence of imprisonment would be served, without her being released on parole. Defendant

was additionally informed that prior to sentence, the sentencing judge will have a pre-sentence

report and that it would be made available to her, to her counsel and to the government, so that

they be allowed to correct or object to any information contained in said report which was not

accurate. Depending on the facts found by the court at the time and the sentence imposed,

both defendant and the government may appeal the sentence of the court.2

          2
           The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in paragraph
eighteen (18) a waiver of appeal.
        Case 3:06-cr-00151-ADC              Document 173    Filed 08/25/06   Page 9 of 9



United States of America v. Yonaira Meléndez-Hernández
Criminal No. 06-151 (ADC)
Report and Recommendation
Page No. 9

        Defendant waived the reading of the Indictment in open Court. Defendant was provided

an opportunity to see and examine same, indicating she availed herself of the opportunity to

further discuss same with her attorney and then she positively stated that what was contained

in Count One was what she had done and to which she was pleading guilty during these

proceedings. Thereafter, defendant expressed in no uncertain terms that she agreed with the

government’s evidence as to her participation in the offense. Thereupon, defendant indicated

she was pleading guilty to Count One of the Indictment in Criminal No. 06–151 (ADC).

        This Magistrate Judge after having explained to the defendant her rights, ascertaining

that she was acting freely and voluntarily to the waiver of such rights and in her decision of

pleading guilty, with full knowledge of the consequences thereof, and there being a basis in fact

for such a plea, is recommending that a plea of guilty be entered as to Count One of the

Indictment in Criminal No. 06-151 (ADC).

        IT IS SO RECOMMENDED.

        The sentencing hearing will be held on December 7, 2006 at 3:30 p.m. before

Honorable Aida Delgado-Colón, District Court Judge.

        San Juan, Puerto Rico, this 25th day of August of 2006.

                                                   s/ CAMILLE L. ELEZ-RIVE
                                                   CAMILLE L. VELEZ-RIVE
                                                   UNITED STATES MAGISTRATE JUDGE
